JS 44 (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the

nited States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS
Mark Miller, et al.

JO MANE BoE, in his or her official capacity as Secretary of

State of the State of Texas, and JOSE A. ESPARZA, in his official
capacity as the Deputy Secretary of State of the State of Texas

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (firm Name, slekdvess, and Telephone Number)
David P. Whittlesey - Shearman & Sterling LLP
111 Congress Ave., Suite 1700, Austin, TX 78701
(512) 647-1900

Hays

NOTE:

Attorneys (if Known)

 

County of Residence of First Listed Defendant

(IN U.S, PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

IL BASIS OF JURISDICTION (Place an "“X" in One Box Only)

 

(For Diversity Cases Only)

 

I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

O11 US. Government 23° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State oa | G1 Incorporated or Principal Place O4 04
of Business In This State
QO 2 U.S. Government 0 4 Diversity Citizen of Another State O 2 © 2 Incorporated aud Principal Place ao5 a5
Defendant (Indicate Cuizenship of Parties in Item 1D) of Business In Another State
Citizen or Subject of a O 3 © 3 Foreign Nation 06 O86
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Onity) Click here for: Nature of Suit Code Descriptions
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
O 110 Insurance PERSONAL INJURY PERSONALINJURY = [0 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
O 120 Marine O 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
0 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729%(a))
0 140 Negotiable Instrument Liability O 367 Health Care/ O 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 430 Banks and Banking
O 151 Medicare Act D 330 Federal Employers’ Product Liability O 830 Patent O 450 Commerce
C1 152 Recovery of Defaulted Liability 0 368 Asbestos Personal 0 835 Patent - Abbreviated 1 460 Deportation
Student Loans O 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) O 345 Marine Product Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran's Benefils 0 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards O 86! HIA (1395ff) 06 490 Cable/Sat TV
CO 160 Stockholders’ Suits 0 355 Motor Vehicle 0 371 Truth in Lending Act O 862 Black Lung (923) 0 850 Securities/Commodities/
O 190 Other Contract Product Liability O 380 Other Personal O 720 Labor/Management 0 863 DIWC/DIWW (405(x)) Exchange
O $195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI O 890 Other Statutory Actions
0 196 Franchise Injury O 385 Property Damage 0 740 Railway Labor Act QO 865 RSI (405(g))} 0 891 Agricultural Acts
© 362 Personal Injury - Product Liability 0 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act O 895 Freedom of Infonnation
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS [0 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement © 870 Taxes (U.S, Plaintiff O 896 Arbitration
O 220 Foreclosure O 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
© 230 Rent Lease & Ejectment 442 Employment © 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
O 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations 530 General && 950 Constitutionality of
O 290 All Other Real Property 445 Amer, w/Disabilities - 535 Death Penalty IMMIGRATION State Statutes
Employment Other: O 462 Naturalization Application

7 446 Amer, w/Disabilities -
Other
O) 448 Education

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

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0 465 Other Immigration
Actions

 

 

 

V. ORIGIN (Place an °X" in One Box Only)

x! (12 Removed from
State Court

O 3 Remanded from o4

Original
Appellate Court

Proceeding

Reinstated or © 5 Transferred from © 6 Multidistrict 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify Transfer Direct File

 

42 U.S.C. § 1983

Brief description of cause:

Vi. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untesy diversity):

Civil action for the Texas Election Code's violation of rights guaranteed by the 1st and 14th Amendments

 

 

 

 

   

VII. REQUESTED IN ( CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P JURY DEMAND: O Yes No
VIL. RELATED CASE(S)
IF ANY Seems. Ge POCKET NUMBE _
DATE SIGNATURE OF ATTORNEY OF RECORD
07/11/2019

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP

JUDGE

 

 

 
